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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE MIDDLE DISTRICT OF FLORIDA


  JOHN DOE,                                         Case No. 6:20-cv-01220-WWB-LRH

  Plaintiff,                                         Judge: BERGER

  v.                                                 PLAINTIFF’S NOTICE OF
                                                     SUPPLEMENTAL AUTHORITY
  EMBRY-RIDDLE AERONAUTICAL
  UNIVERSITY, INC.

  Defendant




         Plaintiff John Doe respectfully submits this Notice of Supplemental Authority in

 regard to the pending Motions for Summary Judgment. (Doc#96, Doc#101.)              Plaintiff

 brings to the attention of the Court the following pertinent cases decided since briefing on

 the motions was completed:

         §     Doe v. Regents of the Univ. of Minnesota, 999 F.3d 571 (8th Cir. 2021)

         §     Doe v. Univ. of Denver, 1 F.4th 822 (10th Cir. 2021)

         §     Abraham v. Thomas Jefferson Univ., E.D.Pa. No. 20-2967, 2021 U.S. Dist.
               LEXIS 171773 (Sep. 9, 2021).

         §     Moe v. Grinnell College, S.D. Iowa No. 4:20-cv-00058 (Doc# 146, August 23,
               2021) (available at:
               https://storage.courtlistener.com/recap/gov.uscourts.iasd.71253/gov.uscourts.
               iasd.71253.146.0.pdf)




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                                                   FOR PLAINTIFF:

                                                   /s/ Joshua Engel
                                                   JOSHUA ADAM ENGEL (OH 0075769)
                                                          (TRIAL COUNSEL)
                                                          Pro hac vice
                                                   ANNE TAMASHASKY (OH 0064393)
                                                          Pro hac vice
                                                   ENGEL AND MARTIN, LLC
                                                   4660 Duke Drive, Ste. 101
                                                   Mason, OH 45040
                                                   (513) 445-9600
                                                   (513) 492-8989 (Fax)
                                                   engel@engelandmartin.com

                                                   Lori A. Sochin (FL 013048)
                                                   LUBELL | ROSEN
                                                   1 Alhambra Plaza, Suite 1410
                                                   Coral Gables, FL 33134
                                                   (305) 655-3425
                                                   (305) 442-9047
                                                   las@lubellrosen.com

                                CERTIFICATE OF SERVICE

         This certifies that the foregoing was filed electronically on October 11,
 2021. Notice of this filing will be sent to all parties by operation of the Court’s electronic
 filing system.


                                                   ____/s/ Joshua Engel ______
                                                   Joshua Adam Engel (Ohio No.
                                                   0075769)
                                                         pro hac vice




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